                                 Tuesday, October 23, 2018



CERTIFIED MAIL - RETURN RECEIPT REQUESTED

6209
Amanda Ploski
Progressive
1641 Worthington Road, Suite 200
West Palm Beach, FL 33409

       RE:     James Spalding
               Claim No.: 182159152
               Date of Accident: October 1, 2018


Dear Ms. Ploski:


       I was involved in a very serious motorcycle accident on October 1, 2018 due to the
negligence of Angela Maria Seda Borrero. Asa result of the accident, my 2007 Harley
Davidson Dyna was totaled. At this time, I am requesting payment in the amount of
$9,627.52 which was the total value of my motorcycle and helmet at the time of the accident.
I have attached the Kelly Blue Book value of the motorcycle ($7,190.00), receipts and bank
statement charges showing the aftermarket parts that I had installed on the motorcycle
($2,187.52), and a receipt for my helmet ($250.00).

         I am requesting payment of the $9,627.52 within ten (10) days of your receipt of this
letter. Please mail the check to my home address: 30510 Alpena Street Sorrento, FL 32776. If
I do not receive this payment with ten (10) days of your receipt of this letter, I will have to
proceed with getting an attorney involved to file a lawsuit on my behalf.


                                                      Sincerely,




                                                      James Spalding




                                                                                           Exhibit E

                                                                                               CF 1
@       Safari       Fle   Edit    View     History    Bookmarks   Window       Help                                                                      SD som} Fri200PM                Q
                 4                                                                                    kbb.com                              Q                                        4



                             BS Alpeer omaae                    ee                                               eC                    a                hee                     |
                           Home   >Motorcycles >Harley-Davidh      Byne Steet   Bob>2007 >Trade-In orBuy? >Motorcycle Detai's


                                                                                                                                               Popular at KBB.com
                                                                                                                                                  25 Bect-Seiing Cars of 2017




                           Your Motorcycle Value
                           2007 Harley-Davidson FXDB Dyna Street Bob                                     Value
                                                                                                          Another Motorcycle


                              Trade-In Value                Suggested Retail Value


                                    Excellent Condition   0 $7,790




                                  Compare motorcycle loan offers                   Save on Motorcycle Insurance

                                    oes                   tencingires              GEICO                 cetatree quote


                                                                                                                                   Shopping Tools

                                                                                                                                     (Shan tar Move Mant CarneTevet,
                                                                                                                                    ceeascom 20Sest SUVs  Under $25,000




          ER         MARKET PARTS AND ACCESSORIES
    +   08/20/2018                           J&P*CYCLES 800-3974844 800-397-4844 IA                                                                        ey                           $452.34


                                             Transaction date:                                       08/19/2018

                                             Card type:                                              Visa

                                             Transaction type:                                       Purchases
                                             Merchant description:                                   COMBINATION CATALOG
                                                                                                     AND RETAIL MERCHANT

                                             Merchant information:                                   800-397-4844 , IA

                                             Reference number:                                       8183

                                             Merchant Name;               ?                          J&P CYCLES             Edit

                                             Transaction Category:                     *             Shopping & Entertainment:
                                                                                                     General Merchandise
                                                                                                        Edit




                                                                                                                                                                                              CF 2
~   09/21/2018   PAYPAL *BIKEBANDITL 402-935-7733 CA                        ‘=   $175.56


                 Transaction date:            09/20/2018

                 Card type:                   Visa

                 Transaction type:            Purchases

                 Merchant description:        AUTOMOTIVE PARTS,
                                              ACCESSORIES STORES

                 Merchant information:        402-935-7733 , CA

                 Reference number:            7837

                 Merchant Name:      7         PAYPAL *BIKEBANDITL
                                                  Edit

                 Transaction Category:   *    Transportation: Automotive
                                               Expenses     Edit


+) 09/03/2018    PAYPAL *JPCYCLESLLC 800-338-1747 IA                        Er   $165.24
                                                                            ot

                 Transaction date:             09/02/2018

                 Card type:                    Visa

                 Transaction type:             Purchases

                 Merchant description:         AUTOMOTIVE PARTS,
                                               ACCESSORIES STORES
                 Merchant information:         800-338-1747 , IA

                 Offer ID:                     KT2211444

                 Reference number:             2627

                 Merchant Name:      7         PAYPAL *JPCYCLESLLC
                                                  Edit

                 Transaction Category:   2     Transportation: Automotive
                                               Expenses     Edit


~   08/08/2018   SP   * MOONSMC HTTPSMOONSMC.CA                             =     $74.61


                 Transaction date:            08/07/2018

                 Card type:                   Visa

                 Transaction type:            Purchases

                 Merchant description:         MEN’S AND WOMEN'S
                                               CLOTHING STORES

                 Merchant information:         HTTPSMOONSMC., CA

                 Reference number:             0975

                 Merchant Name:      7         SP * MOONSMC        Edit


                 Transaction Category:   7     Shopping & Entertainment:
                                               Clothing/Shoes = Edit




                                                                                     CF 3
~   09/13/2018   PAYPAL “UTAHHARLEY 402-935-7733 UT                           %     $179.34


                 Transaction date:               09/11/2018

                 Card type:                      Visa

                 Transaction type:               Purchases

                 Merchant description:           AUTOMOTIVE PARTS,
                                                 ACCESSORIES STORES

                 Merchant information:           402-935-7733 , UT

                 Reference number:               8487

                 Merchant Name:      *           PAYPAL *UTAHHARLEY
                                                   Edit

                 Transaction Category:       7   Transportation: Automotive
                                                 Expenses     Edit


~)08/28/2018     PAYPAL *HDAEBAY 402-935-7733 CA                              3g
                                                                              aay   $270.00


                 Transaction date:               08/27/2018

                 Card type:                      Visa

                 Transaction type:               Purchases

                 Merchant description:           AUTOMOTIVE PARTS,
                                                 ACCESSORIES STORES

                 Merchant information:           402-935-7733 , CA

                 Offer ID:                       KT2211444

                 Reference number:               0642

                 Merchant Name:          ?       PAYPAL *HDAEBAY = Edit

                 Transaction Category:       ?   Transportation: Automotive
                                                 Expenses     Edit




                                                                                       CF 4
AUG   Luke Heafner
                                                                                                 - $140.00
ag    Money Sent

      ) Repeat this transaction


                                                                 Sent to                               x
      Paid with
      VISA x-4200                                                Luke Heafner

      You'll see   "PAYPAL   *1989FLH” on your card statement.   s98afth@gmail.com


      Transaction ID                                             Note to Luke Heafner

      6C179891MM0479001                                          Wrinkle black fxdb mids


                                                                 Details
                                                                 Sent to Luke Heafner      $140.00


                                                                 Total                     $140.00




            Print details




                                                                                                        CF 5
Date  8/18/2018
Time 1:57:14 PM
** Ronnies' Order Confirmation **
Order No: 26106

Ronnies
43 Ingraham Rd.
New Ashford, MA 01237
Phone 800-253-7667
Email questions to: parts@shopronniesharleydavidson.com

Billing Information
james spalding
30510 alpena st
sorrento ,FL 32776
United States / Canada
Phone: 4079600357
AltPhone : 4079600357
Fax#    :
Email   : jamspal407 @icloud.com

Shipping Information
Same As Billing Information


Comments:




Qty Part No        . Description    . Price     . Total

 1 34934-06          GASKET, PRIMARY HOUS     1299      12.99
 1 34982-02A         BUSHING,RH,C'CASE       1.49     1.49
 1 60547-06          GASKET, PRIMARY COVE     27.99 ~—_ 27.99
 1 63869-06          GASKET, TOWER        i)       1.49
 1 7078            SPACER                1.49        1.49



Sub Total       : 45.45
Shipping:Standard Shipping (5-10 days)
Shipping and Handling Charge : 12.95
Tax          : 0.00
Total Order      : 58.40



                                                                CF 6
 Saturday, August 4, 2018 by 8pm

          _   Vance & Hines 66007      $389.99
          Q   FP3 Fuelpak Autotuner
              for Select 2007-13
              Harley...
              Qty: 1
              Sold By: MASS Depot




Payment information

 Payment Method
 Visa ending in 4200


 Billing Address




Shipping address

 James Spalding
 30510 ALPENA ST
 SORRENTO, FL 32776-9282


Order Summary

 Items:                                $389.99
 Shipping & Handling:                    $0.00
 Total Before Tax:                     $389.99
 Estimated Tax Collected:                $0.00
 Order Total                          $389.99


                                                 CF 7
                                        90% a)


 Delivered
 Delivery Estimate
 Thursday, July 12, 2018 by 8pm

              BC 49MM BLK LONG          $26.99
              FORK BOOTS
              Qty: 1
              Sold By: Longhorn Moto




Payment information

 Payment Method
 Visa ending in 4200


 Billing Address




Shipping address

 James Spalding
 30510 ALPENA ST
 SORRENTO, FL 32776-9282


Order Summary

 Items:                                 $26.99
 Shipping & Handling:                    $0.00
 Total Before Tax:                      $26.99
 Estimated Tax Collected:                $0.00
 Order Total                           $26.99


                                                 CF 8
View order & return details

 Order date          Jul 10, 2018
 Order #             113-9976455-1177031
 Order total         $255.05 (6 items)


Shipment 1 of 4

 One-Day Shipping


 Delivered
 Delivery Estimate
 Thursday, July 12, 2018 by 8pm

               PJ1 2-30W-1L 30W                    $19.87
               Fork Tuner Oil, 1L
               Qty: 2
               Sold By: Amazon.com Services, Inc




Shipment 2 of 4

 One-Day Shipping


 Delivered
 Delivery Estimate
 Thursday, July 12, 2018 by 8pm

 yee        Progressive Suspension                 $98.96
  ~wasnt, §=—
            11-1546 Progressive


                                                            CF 9
View order details

 Order date          Jul 4, 2018
 Order #              113-8976790-0459427
 Order total         $261.94 (1 item)


Shipment details

 One-Day Shipping


 Delivered
 Delivery Estimate
 Friday, July 6, 2018 by 8pm

               Biltwell Lane Splitter       $249.95
               Helmet (X-LARGE)
               (FLAT BLACK)
               Qty: 1
               Sold By: MxMegastore




Payment information

 Payment Method
 Visa ending in


 Billing Address




                                                      CF 10
